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EXHIBIT H

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Roth, Melissa R.

From: Dickinson, |Vliche||e J.

Sent: Thursday, October 01, 2009 7112 PM

To: isabel Nl Humphrey; Randy Yavitz; candess@hhy|aw.com
Cc: Roth, Me|issa R.

Subject: Loomis

Counse|:

We propose scheduling Jenni‘s deposition for November 6th and Joe's deposition for November 9th. P|ease
confirm their availability.

We are continuing to produce documents on a rolling basis as agreed and will be sending out another batch of

documents tomorrow, P|ease advise as to when you expect to produce responsive documents Than|<s.
N|icheile

10/22/2009

